                               UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF ALABAMA
                                       NORTHERN DIVISION

In the Matter of:                                            }
                                                             }
AVERY ALAN MITCHELL                                          }     Case No. 19-81521-CRJ-7
                                                             }
                                                             }
                                       Debtor(s)             }     Chapter 7
                                                             }

KIMBERLY MITCHELL                                            }
                                                             }
                                                             }
                                      Plaintiff(s)           }     AP Case No. 19-80077-CRJ
vs.                                                          }
                                                             }
AVERY ALAN MITCHELL                                          }
                                                             }
                                      Defendant(s)           }
                                                             }

                            ORDER DENYING MOTION TO STRIKE ANSWER

                Before the Court is the Plaintiff’s Motion to Strike Answer, ECF No. 7. Without citing

        any legal authority, the Plaintiff argues that the Answer filed by the Defendant in the above-styled

        Adversary Proceeding is not permitted under the rules as a general denial filed in bad faith. The

        Court has considered the Motion to Strike and finds that the requested relief should be denied for

        failure to cite any legal authority in support of the relief sought.

                IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Motion to

        Strike is hereby DENIED.

        Dated this the 2nd day of October, 2019.

                                                                 /s/ Clifton R. Jessup, Jr.
                                                                 Clifton R. Jessup, Jr.
                                                                 United States Bankruptcy Judge




        Case 19-80077-CRJ          Doc 8     Filed 10/02/19 Entered 10/02/19 12:56:19             Desc Main
                                             Document      Page 1 of 1
